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 Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                           )            Chapter 11
                                                                  )
 MIAMI METALS I, INC., et al.1                                    )            Case No. 18-13359 (shl)
                                                                  )
                                   Debtors.                       )            (Jointly Administered)


             NOTICE OF DISCOVERY CONFERENCE RELATING TO
     DEPOSITIONS PURSUANT TO ORDER APPROVING UNIFORM PROCEDURES
                 FOR RESOLUTION OF OWNERSHIP DISPUTES

           Miami Metals I, Inc., et al., (collectively, the “Debtors”), in the above-captioned chapter

 11 cases, by and through undersigned counsel, gives notice that on Friday, July 5, 2019, the

 Debtors will host a voluntary telephonic discovery conference at 11:30 a.m. ET for those

 customers that filed a Customer Statement pursuant to the Second Amended Order Approving

 Uniform Procedures for Resolution of Ownership Disputes (“Uniform Procedures Order”). This

 conference is strictly voluntary and is not mandatory by court order or otherwise. Parties to

 the Uniform Procedures Order wishing to participate that otherwise have not received the

 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
 Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY
 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378);
 Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833);
 Miami Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC
 (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC),
 12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC, 12900 NW 38th Avenue, Miami, FL
 33054 (4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102),
 12900 NW 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5,
 Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 conference instructions may contact Esther McKean at esther.mckean@akerman.com, John

 Mitchell at john.mitchell@akerman.com, or Joanne Gelfand at joanne.gelfand@akerman.com for

 more details on the telephonic conference

 Dated: July 3, 2019                                 AKERMAN LLP

                                                     By:    /s/John E. Mitchell
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